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                         IN    THE      UNITED         STATES         DISTRICT         COURT


                                  FOR    THE      DISTRICT            OF    COLORADO


                         CIVIL       ACTION          NO . :     23-CV-02355-CNS-KAS




                              ESTATE       OF     LEROY         "NICKY"       TAYLOR,


                                                     Plaint i f f ,




                                                              V .




                DENVER      HEALTH       AND      HOSPITAL            AUTHORITY;         A   POLITICAL


                         SUBDIVISION              OF    THE         STATE    OF    COLORADO;


                    PETER     CRUM,      M . D . ,     IN     HIS     INDIVIDUAL         CAPACITY;


                MELISSA       BROKAW,        RN,       IN     HER     INDIVIDUAL         CAPACITY;


                BERNICE       CHAVARRIA           TORRES ,           LPN,    IN    HER   INDIVIDUAL


                                                       CAPACITY;


                    ISAAC     KARUGU,        RN,       IN     HIS     INDIVIDUAL         CAPACITY;


             ALICE     MUKAMUGEMANYI ,               LPN,       IN    HER    INDIVIDUAL         CAPACITY;


                JOHN    DOES      1-20,      IN      THEIR          INDIVIDUAL         AND   OFFICIAL


                                                  CAPACITIES ,


                                                  Defendants .




           DEPONENT :       CARMEN       KASSATLY             ON     BEHALF       OF   DENVER    HEALTH


                            AND    HOSPITAL            AUTHORITY


           DATE :           DECEMBER         18,       2024


          REPORTER :        EMILY       RODZ




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      1   Health          in    order          to     prepare             to    testify           on    Topic       11?


      2             A .         Just          reviewed          a    training               log    and    reviewed             the


      3   protocols .


      4             Q.          What          protocols             did        you     review?


      5             A .         Diarrhea ,               nausea,           critical           vital       signs.           Oh,


      6    I ' d   have        to    go       back       and    look           over     here       at    the    list       that


      7   was      mentioned .                 Chest       pain,           abdominal              pain.


      8             Q.          What          training                    specific           trainings          are       in


      9   place       for       identifying                a    serious              medical           need?


     10             A .         So       we    have             we        do    a    lot     of    training          on    our


     11   protocols .                Part       o f      that       i s    critical           vital       signs.           We    do


     12   emergency             response              training             quarterly,              which       we    call       our


     13   man      down        dr i 1 1 s .         We    do    mass           disaster           drills       as    we 1 1 .


     14             Q.          And       you       reviewed              those        trainings?


     15             A .         I    did       not       review           them       prior        to    coming       here,


     16   but      I'm     very          familiar          with           the       trainings.


     17             Q.          Okay .          Is       there       anyone            at    Denver       Health          who


     18   has      knowledge              about          the    training               pertaining          to


     19   identifying                whether             inmates           are       suffering           from       serious


     20   medical          needs?


     21             A .         Can       you       repeat          that        please?


     22             Q.          Are       there          any    other           people        that       have       knowledge


     23   about       the       training              pertaining                to     identifying             whether


     24   inmates          are       suffering             from           serious           medical       needs       as




     25   identified                in    Topic          11?




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      1                       THE    WITNESS :                Okay.


      2                       MR .    DERWINSKI :               Yeah ,          we    probably             should,


      3           r i ght ?


      4                       THE    VIDEOGRAPHER :                       All    r i gh t .          We    are       now    off


      5           the        record .             The    time       i s    11:12          a . m .




      6                          (OFF        THE        RECORD)


      7                       THE    VIDEOGRAPHER :                       We    are       now       on    the    record .


      8           The        time     i s    11:27        a . m .




      9   BY    MS .     ANDERSON :



     10            Q.          All     r i gh t .         Before           we    went         off        the    record,          we




     11   went     through            all         the    topics           to    discuss             your       preparation.


     12   Now     I’d        like     to     get        into    the        topics.           We'll         begin       with


     13   Topic        1 ,    which         i s    again ,      Denver           Health             and    Hospital


     14   Authorities                Organizational                  and        Operational                Structure


     15   within         the     jail        on     February              9th,       2022 .


     16                        What         is     the    supervision                 hierarchy                for    Denver


     17   Health         medical            staff        at    the        jail?


     18            A .         Ins ide            the    jail       o r    in    reporting                to    Denver



     19   Health?


     20            Q.          Let's         begin        with       inside           the       jail.


     21            A .         Okay,         s o    the       hierarchy              is     typically            there's


     22    four    leaders .                There ' s         the    health           s e rvi ce s


     23   administrator,                    you     have       the        nur s e     manager ,            you       have    a




     24   behavioral             health            director,              and    the        responsible


     25   phys ician .




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      1                         MR .    DERWINSKI :          Ob j ect ion .              Form .



      2                         THE    WITNESS:            Depending           on    the       situation .


      3   BY    MS .       ANDERSON :



      4              Q.          What       are     the    type       of    situations            that      Denver


      5   Health           expects          medical        providers           to    be       notified           of?


      6              A .         So    we     have    protocols


      7              Q.          Okay.


      8              A .               which        are    followed          by     our       nursing       staff,


      9   and    those           protocols           will    direct          the     nurses          when        to    call


     10   the    provider .                 Any     concerns          outside        of       those    protocols


     11   that       ar en ’ t         covered       in    those       protocols,              they    would           call


     12   the    provider ,              and       then    they       have     the       ability       to        call    the


     13   provider,              honestly,           at    any    time,        if    they       choose.


     14              Q.          How     does       Denver       Health        ensure          that    nurses           are


     15    following             the     protocols          that       are     put       in    place?


     16              A .         So    we     do    training.              When     staff       are    onboarded,


     17   we    do     training.               Whenever          we    change        protocols             o r    we




     18   update ,          we     actually          do    training          for     our       staff       regarding


     19   protocols .


     20              Q.          What       measures        are       put    in     place       by    Denver


     21   Health           to    ensure        that       nurses       are     following             the


     22   protocols ?


     23              A .         So     the    protocols          are             after        they ’ re


     24   completed,               like,       when       they    evaluate           a    patient,          they ’ re


     25   actually              put     into       what’s    called          an     MD    sign,       and        the




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      1   provider           for     the        next        day,        Monday          through           Friday,


      2   reviews           those     and         reviews          that           the     process,             or    protocol,


      3   o r   intervention                was        fol lowed .


      4              Q.       Is     there         any       way        to    evaluate              when       nurses       don't


      5    follow          that     proce s s ?



      6              A .      Yeah,         s o    if       the    doctor            was       to    see       something


      7   and    say,        hey,      I    didn't           think           that       this        was    correctly


      8    followed,          then         he     would       take           it    either           to    the       nurse




      9   educator ,          nurse         manager ,             o r    nur s e        program           manager.




     10              Q.       So     beyond            training              and     the       doctors          doing       a




     11   review,           are     there         any       other        things           in    place          to    ensure




     12   that       nurses         are     following              the        protocols?


     13                      MR .    DERWINSKI :                  Ob j ect ion .               Form .          Go    ahead.


     14                      THE     WITNESS :               Y e ah .         We     do    chart          audits .


     15   BY    MS .       ANDERSON :



     16              Q.       What         does        a    chart        audit          entail?


     17              A .      There ' s           50       chart        audits          that        are    completed


     18   every        quarter         for        our       quality           and       improvement                 committee.


     19              Q.       Who ' s       responsible                  for       doing        the       chart       audit?


     20              A .      The               typically               the       medical           records '


     21    supervisor .


     22              Q.       You      said        50       per    quarter.                How       does       it          how



     23   do    you        decide     which            charts           to    audit?


     24              A .      So     it's         typically              random.               It's       25    at    the       DDC ,



     25   25    at     the    Denver            County        Jail.               Part     of       those       will    always




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      1   be    annuals,          so    patients           that       have     been      there       at       least          a


      2   year ,       depending            on,     you    know,       how     many      that       we    have .


      3   And    then      other        than        that,       it’s       just    random .


      4            Q.       What        training           does       Denver       Health          give       to


      5   charge         nurses        to    ensure        that       they're        properly


      6    supervising            the       other        nurses       that


      7            A .      Yeah,           s o    they    have       onboarding                   they       have


      8   when     they ' re       onboarded              into       the    charge       nur s e     role,          they


      9   have     a     charge        nurse        training,          they       have    a    charge          nurse




     10   checklist,            and     then        they       actually        have,      like,


     11   on-the-job            training            with       another        charge      nurse,          I



     12   be 1 i e ve ,    for     around           five       weeks.


     13            Q.       Other           than     the       onboarding          and    the       on-the-j ob


     14   training,         is     there           any    other       training        provided            to       charge


     15   nurses?



     16            A .      Y e ah ,        they     do    a    monthly        charge         nurse       meeting,


     17   and    in      that     charge           nurse       meeting,        they      do    a    variety             of


     18   topics .


     19            Q.       How        does        Denver       ensure        that    charge         nurses             are




     20   properly         supervising               the       nurses       after     that         training             has


     21   been     completed?


     22                    MR .    DERWINSKI :                 Ob j ect ion .        Form .



     23                    THE     WITNESS:               Y e ah .     Well,       the    charge          nurses


     24          have      to     do    a    competency              and    then     annually,            there ' s              a




     25          peer      review ,          where              wh i ch           it's    completed                by    the




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      1          assigned             person,          typically             a    nurse       manager ,               nurse




      2          program          manager,             and       they       do    an    annual          review          of


      3          charts ,         chart          corrections ,               grievance             log.


      4   BY    MS .     ANDERSON :



      5            Q.        Has       there          ever       been       an    instance          in       which


      6   Denver         Health        found          that       a    charge          nurse      was     not          properly


      7    supervising            the       other          nurses?


      8            A .       Not       that       I    recall .             And       that ' s     23    years          o f


      9   being        in   there .


     10            Q.        In       the    last          10    yea r s r       you    don ' t     recall             any




     11   instances          in       which


     12            A .       Of       anything             specifically                where       somebody             was


     13   not    properly             supervising                another          nurse?


     14            Q.        Yes.



     15            A .       No,       not       that       I    recall .


     16            Q.        Have       you       ever                has    Denver          Health          ever       made   a




     17   determination                that       a    medical          provider             was    not          properly


     18    supervising            any       of    the       people          at    the     jail?


     19            A .       No .



     20            Q.        I    noticed             in    the       policies,           there ’ s          a       health



     21   authority          as       well.           What       is    the       health       authority?


     22            A .       The       responsible                   health       authority             is       a




     23   correctional                care       term       specific             to    accreditation


     24    standards ,           and    the       health             authority          is    who       Denver          Health



     25   designates             as    kind       of       the       person       that       provides




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      1   administrative                 oversight                 at        the    jails.


      2           Q.          Who       has        Denver          Health           designated          as    the   health


      3   authority?


      4           A .         Who       is     the          health           authority?


      5           Q.          Yes.



      6           A .         That       would              be    me .




      7           Q.          Okay.            So       as       the     health          authority,          you ’re    just


      8   an   individual ?


      9           A .         Yes.



     10           Q.          Right .              Is       there        a    health        authority         group?


     11           A .         No ,      it’s        just          who’s        the       designated          responsible


     12   health        authority.


     13           Q.          Okay .           And          as    the        responsible             health


     14   authority,              what        are       your                 what     are      you    responsible


     15    for?


     16           A .         I    view        that          as    administrative                    oversight,


     17   budget .        I       run    CQI,           I    have        direct          reports,       as    we    talked


     18   about    previously.                      Policy             procedure,              accreditation,


     19   liaison       between               Denver             Health        and       the    Denver       Sheriff's


     20   Department .



     21           Q.          You       mentioned                 CQI .        What       is    CQI?


     22           A .         Continuous                    quality           improvement.


     23           Q.          And       what        does          CQI        entail?


     24           A .         CQI       i s    a    quarterly                 meeting          that    we    have    just


     25   to   continuously                   improve             inside           the    jail.        So    we        for




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      1   examp 1 e ,      we      do    grievances,               we    have       pharmacy        reports,


      2   occurrence            reports,             our    chart        review        audits       are        reviewed


      3   in    there.          It’s          just    a    variety        of    data        which       we     look          at


      4   and     see    if     there’s             any    trends,        or    anywhere,           or       any     ideas


      5   o r   topi c s      that       we     may       need     to    put    in     place       to    maybe           have


      6    some    areas        of      improvement.


      7            Q.         Who       i s    on    the    CQI?


      8           A .         CQI       would        be    myself,        the       responsible


      9   phys ician ,          nurse          manager ,         nurse        program        manager,




     10   clinical         nurse         educators ,             the     clinical           supervisor,


     11   medical        record          supervisor,               organizational                 development


     12    specialist,             the        medical       admin i s t rat or ,            chief       of     mental


     13   health.          And       then       there       could        be    s ome       member s      of     the


     14    sheriff's          department.


     15            Q.         So     how       many       people        are    on    the     CQI?


     16           A .         It’s       pretty           vast ,     probably          about       15,       20 .    There


     17   can     also     be      ad    hoc        members.


     18            Q.         And       how     often       do           does       the     CQI          i s    it       a




     19   committee ?


     20           A .         It     i s .


     21            Q.         Mee t ?



     22           A .         Quarterly .



     23            Q.         What       role        does      the      CQI    committee           play        in    the


     24   operation           of     the       jail?


     25           A .         Well ,          it's    ve r y            there ' s      a    vast    array           of




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      1   topics .               And       s o    the       committee ,              we       review            all          o f    the    data


      2   together               as    a     team,          make       sure       we’re            meeting               thresholds,


      3   o r    see        if    there’s              any       opportunities                      identified.


      4               Q.          How        do       you       go    about       reviewing                    data?               How    does


      5   the       data         get       to     the       CQI       committee?


      6               A .         It       depends.                  There ’ s       a       lot     of        variety,              there ' s


      7   a     lot     of       ways        that          come       from     data .               So ,       like,


      8    specifically?                         Or    you       want       just         a    couple            examples?


      9               Q.          What           are       the       types     o f       data        that           the       CQI


     10   committee               evaluates                 with       respect               to     the        jail’s


     11   operation?


     12               A .         Yeah .              So    just       an     example               would           be       we     have    an




     13   occurrence                  reporting                 system,        and           s o    we     pull          a    report



     14    f r om     tho s e         occurrence                 reports .               And        that        includes                 things


     15   like        assaults ,                 medication                errors ,           transcription                         errors,


     16   any       PREA         events           in       the       jail,     and           then         we    review              those


     17   and       track         and        trend.


     18               Q.          Okay.               How       do    you            what           i s    the       occurrence




     19   reporting               system?


     20               A .         It’s           just       a    electronic                  system            through              the


     21   Denver            Health           risk          management             team             that        we    just           put    in


     22   occurrences                  a s       we    find          them .


     23               Q.          Right .              What          are    the      type           of     occurrences                    that


     24   are       documented                   within          the       system?


     25               A .         Like           for       example,           the        ones        I     j ust         discussed




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      1   with       things               like        medication                errors ,          transcription


      2   errors ,             near         mi sses,            assaults .


      3              Q.              You        said,       near       mi sses.              What ' s       a       near       mis s ?


      4              A .             So     for       example,             if       I’m     going     to        give       a    patient


      5   a    medication                   and       somebody             did       a    transcription,                   and     it


      6   may       look        like            their       handwriting                   could      be     a       near       mis s .


      7   Like,        I ' m         supposed              to    give        one         pill,      but     their


      8   handwriting                     looks        like       two,          that        could     be        a    near              near




      9   mi s s .         I    almo s t             gave       somebody             the     wrong        medication


     10   be cau s e           o f    a     transcription                    error.


     11              Q.              So     a    near       mis s      i s      a    document         o f       something              that


     12   could        have           gone           wrong ,      but        didn’t?


     13              A .             Correct .



     14              Q.              Okay.            Do    the       occurrence               reporting              systems


     15   also       document                   misses?


     16              A .             Yes .           Like,       if    we       have        medications               with        missed


     17   doses        and ,          you        know ,         things          that              maybe         for       example,


     18   if    a    medication                      sheet       wasn't             present         and     a       patient


     19   mi s s ed        a    dose            of    medication,                   then     we     would           put    it     in


     20   that       system .


     21              Q.              Do              does       the    reporting               system           also       document


     22   errors           by        the        medical          staff?


     23              A .             Like,           medication              errors ,          it    does .


     24              Q.              Is     it       limited          to     medication              errors ?



     25              A .             No ,       not    necessarily .                      Like,      say        if    somebody




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      1   developed           off       of    accreditation                     standards .


      2            Q.         Okay.           And        Exhibit           96    says        that r    "The       policy


      3   i s   that      patients            will         have       the       opportunity            to    grieve


      4   areas     o f    concern            with         regard          to    health        services           without


      5    fear    of     reprisal.                 Health        services             grievances            will    be


      6   tracked,         noting            types         of    complaints              and       their     outcome.


      7   Action        may       be    t a ken      i f    trends          are       noted."          Did    I    read


      8   that     correctly?


      9           A .         You       did.


     10            Q.         And       then        with              in    the       third        paragraph        under


     11   procedure ,             it    mentions            that,          "Health           services        grievances


     12   are     delivered             via       e-mail         to    health          s e rvi ces,         and    they're


     13   logged        and       scanned."                Do    you       see       that ?


     14           A .         I    do .


     15            Q.         So       who    i s           scratch             that .


     16                       How       does        Denver        Health             track     their        grievances?


     17   You     mentioned             a    few     of     the       categories              in    that     log.


     18           A .         Uh-huh .



     19            Q.         Explain             that      process             to    me .




     20           A .         You       want        me           like,          how    it     starts ?        From



     21   initially           how       it    starts?             Or       just       how     it's     entered       into


     22   the     log?


     23            Q.         How             the        whole        process.


     24           A .         Okay.           So     the        grievances             are            there ' s


     25   grievance           boxes          in            secured          grievance              boxes     in    eve r y




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      1   you ’ re       referring           to ?


      2            A .          National          Commission             of    Correctional


      3   Healthcare ,               American          Correctional               Association,                 PREA,



      4   Prison         Rape        Elimination             Act.


      5            Q.           And    what       do       those       entities         require           that       you


      6   track       with          respect       to       grievances?


      7            A .          Just    that          we    do    track       the    grievances.                    They


      8   don’t       necessarily                specifically              tell      us    we    have          to    track


      9    specific            items    in       the       grievances,            but     that       we     do      have     t o



     10   track       them.


     11            Q.           So    Denver          Health       has     discretion            a s      to     what


     12   it’s     tracking?


     13            A .          Well,       we    track          the    items       that       are     beneficial


     14   a s   far      a s    looking          at    improving           our      outcome s          and       our




     15   processes .




     16            Q.           What    items          are       beneficial          to    determine                what


     17   you    need          to    improve          outcomes          and    processes?


     18            A .          Beneficial             would       be    if    we ’ ve     seen        an      increase


     19         we 1 1 ,       what    we    talked          about,        the      different             grievances,


     20   the    different             categories,                right ?         What     are       the       outcome s



     21   of    those          grievances?                 And    if    we ’ ve     notified           trends          o f


     22   upticks          in       those,       we ’ re     going       to    look       at    why,        and      is


     23   there       something             we    need       to    do    to    change          that?


     24            Q.           Who    is    responsible                for    determining                the       outcome



     25   of    grievances ?




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      1   Like,         a    written             report       o r    a      r eque s t ?       I          I    just              I ’ m


      2   not     clear .


      3             Q.            Does       Denver       Health                   can             so    verbal


      4   reports .               So    does       Denver           Health         receive          verbal           reports


      5   that      it       considers             at    the        CQI      Committee             in    order        to



      6   determine               what             how    to        improve            outcome          and    processes ?


      7             A .           If    staff          members           are      there       and       they    want        to



      8   give      some          information ,               they’re             welcome          to    do    s o




      9             Q.            Is    that


     10             A .                 at       the    CQI.


     11             Q.            Does       that       typically              occur       where         Denver        Health



     12   receives            verbal             reports          from       staff       members?


     13                       MR .      DERWINSKI :                 I ’ m    just       going       to    object           to    the


     14           f o rm .         Go       ahead.


     15                       THE       WITNESS :             I     mean ,        in    CQI    it’s       a




     16           multidisciplinary                       team,             and    it’s             anyone ' s         welcome


     17           to        report          on    anything           they         want.


     18   BY     MS .       ANDERSON :



     19             Q.            In    your       experience                has           have         staff        members


     20   come      to       CQI       meetings          and        provided            oral       reports?


     21             A .           For       example                 if      I’m    following             you    correctly,


     22    for    example,              we       were    in       CQI       last       time    and       the    pharmacist


     23   brought            up    that          there ’ s        been       an    increased             trend        in


     24   utilization                  of    Eucerin,             which        has ,     you       know,       brought           up


     25   costs,            and    just          trying       to     look         at    and    identify              why    that




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      1   anybody            raised        concerns             about          the    training             program


      2    speci f ically ?


      3               A .      Not     that          I    recall .


      4               Q.       Are     there             any    documented                cases       in    which             Denver


      5   Health            staff     failed             to    recogni ze            symptoms          of       a       medical


      6   emergency?



      7                       MR .    DERWINSKI :                   Ob j ect ion .          Form .



      8                       THE     WITNESS :                Can       you    repeat          the    question?


      9   BY     MS .       ANDERSON :



     10               Q.       Are     there             any    documented                instances             in          which


     11   Denver            Health     staff             failed          to    recognize          symptoms                   o f   a




     12   medical            emergency?


     13               A .      Documented                 cases          like    lawsuits             or                I          can




     14   you        clarify?          I ’ m     not



     15               Q.       I'll        rephrase             the       question.


     16               A .      Okay.


     17               Q.       What        is    the          specific          training          with          respect                to


     18   recognizing                the    symptoms                of    a    medical          emergency                   that


     19   Denver            Health     provides?


     20               A .      Yeah .           We       provide          emergency             response                training


     21    for       our     new     hires .             We    do    it       annually.           We       do       a




     22   quarterly            Emergency                 Response             Training,          and       we       do       an




     23   annual            Mass     Disaster             Training,             and       then    we       can          do    any




     24   additional               training              in    between.              We    do    regular                training


     25   on     a    monthly         basis.




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      1           Q.          And    what ’ s        the       purpose          of    the    protocols?


      2           A .         The    protocols             are       to    guide       the    care    for       the


      3    frontline          nursing          staff.


      4           Q.          Is    part       of    the       purpose          of    the    protocols          to


      5   ensure        that       patients          get       appropriate             medical       car e ?



      6           A .         It's       to    guide             to       guide       the    care    based       on


      7   what    the        concern          is    that's       being          presented.


      8           Q.          It's       also       to    give       guidance          as    to    when    to    call


      9   a   medical         provider             for    the    nurses?



     10           A .         Some       of    them       will             yeah,       will       provide


     11   guidance           as    far    as       when    to    call.



     12           Q.          Okay.           Are    the       protocols             updated       regularly          to


     13   reflect        new       guidelines             or    guidance?


     14           A .         They       are .


     15           Q.          How    often?


     16           A .         They're          updated                updated          a    minimum       of


     17   annually,           but    it       can    be    more       often          depending       on    changes,


     18    standard          of    care,       et    cetera .



     19           Q.          How    are       medical          personnel             supervised          to    ensure


     20   that    they        are    applying             the    protocols             correctly          in    real-


     21   world     situations?


     22           A .         So    when       the             the    protocols             are    utilized,


     23   then    it's        documented             right       in       the    chart,       and    then       those


     24   charts        go    to    the       providers          who       do    a    chart       review       the


     25   next    day.




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      1              A .         That       would        be      up    to    the       physician.                The


      2   physician              writes          the     protocol            and       provides          this


      3   guidance .


      4              Q.          All       r i gh t .      What        training          or       guidance            does


      5   Denver           Health          provide          to    the       medical        doctors              with


      6   respect           to       ongoing        diarrhea?


      7              A .         They       could        have         some    training.                 I ’ m    sure       it’s


      8   involved           in       their       boards          when       they       have       to    get         their


      9   boards .           I       mean,       they       go    through          a    lot       of    schooling            and


     10   licensure              that       they’re             governed          by    the       board         as    we 1 1 .    So



     11   most       medical           diagnosis                are    covered          when       they         go    to



     12    school .


     13              Q.          Is    there        a    written            protocol          on       vomiting?


     14              A .         I    believe           s o ,    or    it’s       part     of      different


     15   protocols .


     16              Q.          What       guidance             does       Denver       Health          provide            with


     17   respect           to       patients           that      are       vomiting?


     18              A .         I’d       have     to      re-read          through          all       the      protocols


     19   and    I     don’t          have       them      memorized.


     20              Q.          Sitting          here          today,       you       don ' t     have               you




     21   do    you        know       what              any      guidance          that       is       provided            with


     22   respect           to       vomiting?


     23              A .         So,       for    example,             if    we    have       somebody               that’s       in


     24   withdrawal                 and    then        they      could       have,        like,         PRN         Zofran       if


     25   they’re           vomiting.               We      can       start       them,       I    be 1 i e ve ,       like,




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      1              A .       I              concerns             maybe          a    handful             of    times           a    yea r ,




      2   but    often         after              review,          it’s       more          it’s                just        because


      3    somebody           makes           a       concern          doe sn ’ t          mean       that       it’s           valid,


      4   and    that's            why        you       do    your       due          diligence             and        get       all


      5    s ide s     of     the        story .


      6              Q.        Are        there             any    guidelines                   in    place           to    determine


      7   what       complaints                   are       valid       versus             not       valid?


      8              A .       Well ,             I    mean ,      if     you ' ve                   you              by    your


      9   review,            you    would              determine             if       it's       valid          o r    no t .



     10              Q.        But        Denver             Health                   but       does       Denver           Health


     11   provide            the    review              or    any       guidelines?


     12              A .       There ’ s               really          not             I    mean ,         it's        va s t .           I



     13   mean ,       there ' s          a       vast       ma j ority           of       concerns             that        can       be


     14   expr e s s ed ,          s o    that          would          almost          be       next       to    impossible.


     15              Q.        Other              than       the       occurrence                reports              and       the


     16   grievances ,              how                 are       there       any          other       mechanisms                    in


     17   which        reports            of          medical          negligence                and       the        related


     18   investigations                      are       documented?


     19              A .       People                 can    do    a    report             to    the             t o       the       board.


     20    I   mean ,        and    anybody                 can    report             to    the       board           if    they          feel


     21   like       care      was        inadequate,                   and       that's             governed              by    the


     22   Board        o f    Colorado .


     23              Q.        Does           Denver          Health          have          an       internal              system             for


     24   tracking            the        status             and    outcomes                of    medical              negligence


     25   investigations?




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      1         policies            as      a    result          of       an     allegation              of    medical


      2   negligence ?


      3            A .           Not     that         I ' m    aware           of,      related          to    that .


      4            Q.            Has     there         been          any       changes            to    the    policies          a s




      5   a    result        of     allegations                  of       deliberate               indi f f erence          in


      6   the    past?


      7                      MR .      DERWINSKI :                   Ob j ect ion .               Foundation .


      8                      THE       WITNESS:               Not         that         I’m    aware       o f .


      9   BY    MS .     ANDERSON :



     10            Q.            Are     you      aware          of       any      changes             that    Denver


     11   Health         has      implemented                  as     a    result            of    inadequate             medical


     12   care     at       the     jail         at    all?


     13            A .           Not     that         I ’ m    aware           o f .


     14            Q.            Are     the      investigations                        into       medical          negligence


     15   audited           by    an     outside              agency?


     16            A .           They       can       be .       I    mean,            we    get       accredited          by    ACA


     17   and    NCCHC.             Whenever               our       accrediting                  body    is       coming       out,


     18   we    post        signs        throughout                  the       jail,         throughout             the


     19   hous ing          units ,         and       anybody             can     write           in    there       and    report


     20   any    concerns              or       complaints                to     the        accrediting            body.         And


     21   when     the       accrediting                   body       come s           in,    they’ll          often       look


     22   at    those        patients’                charts          and        talk        to    those       patients.


     23            Q.            Does       the       CQI      Committee                ever       send       an    outside


     24   agency         information                  in      order        t o     review          the    policies          in


     25   place        at    Denver             Health?




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      1   developed              over        time          regarding             discipline              that       are        not



      2    formally          written              in       the     policies            that        are    followed?


      3            A .           Can        you    repeat           the      question?


      4            Q.            Are        there          any     practices            that        have       developed


      5   over     time          regarding                 discipline             that        are    not       formally


      6   written           in       the     policies?


      7            A .           I    mean ,       if       you     would         do    a     coaching,             I    gue s s




      8    I   don't        know       that        the       policy          says,          you     know,       you       can        do


      9   a        you       know,           an    e -ma i 1        coaching            o r    a    verbal          coaching.


     10   But     that ' s           just     part          of ,    you      know,          supervisory                 training.


     11            Q.            How        does       Denver         Health           monitor           issues          o f


     12   mi sconduct                over     time          or     track         issues        of    misconduct                 over




     13   time ?


     14            A .           Well,        if       they        were      valid          misconducts,                 then        it


     15   would        be    in       the     accountability-based                             performance                system


     16   and     staff          would        be       disciplined.                    You     al so      have          the


     17   Governing              Board        of       Colorado             in    which        people          can       report,



     18   and     if     those         are        investigated                   and    founded,              you       would


     19    find    them          on    your        licensure .                   We    do     pull       our    licensure


     20   every        year,          s o    we    would           know      if       somebody           on    there           had    a




     21   citation .                 And     physicians,               by        accrediting              bodies,              can't


     22   work,        if    they           have       a    citation ,            in    a     correctional-care


     23   institution .


     24            Q.            Does        Denver          Health          track          repeated           types           of


     25   mi sconduct ,               even        though           it ' s    not       engaged           in    by       the     s ame




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      1                           (OFF       THE    RECORD)


      2                     THE        VIDEOGRAPHER :                   We    are     on    the        record .          The


      3          time       i s      2:23     p .m.


      4   BY    MS .     ANDERSON :



      5            Q.           Now     we ’ re     going          to    talk       about        Topic        2 ,      which


      6   i s   Denver          Health’s           investigation                   into     Leroy           Taylor’s


      7   death .         Did        Denver        Health          investigate              Mr .       Taylor ' s



      8   death ?


      9            A .          Yes.         They       did    a    review.


     10            Q.           Who     did       the    review          of    Mr .      Taylor ’ s          death ?


     11            A .          The     review,          I    be 1 i e ve ,        was           Dr .       Tom



     12   MacKenzie             was     present.              Carol          Rogers        was        present.           I    was




     13   present .             Dr .    Peter       Crum       was       present.               Sara        Rosenthal,          I



     14   be 1 i e ve     was        present .           Ann-Marie             Stuart           i s    who    I     recall .


     15            Q.           When     did       the       review          begin?


     16            A .          It     was          would          have       occurred           within           30    days


     17   of    the      death.          I    don ’ t        have       the    exact        date .


     18            Q.           When     was       the       review          completed?


     19            A .          The           I    ass ume         the       day    we     had        the    meeting.


     20            Q.           Would        that       meeting          have       occurred            30    days       after



     21   his    death ?


     22            A .          30           at          within          30    days        of    the        death       is


     23   when     the      review           was    done .


     24            Q.           Was     this       the       only       review        that       Denver           Health



     25   did    of      Mr .     Taylor ’ s        death ?




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      1               Q.          And    that         administrative                   review       happens             after


      2   the     mortality              review?


      3               A .         It    varies.             They                the       they          can       do    the


      4   administrative                     review         when       they       want,      but        they       do    have


      5   to    give         that       to    u s .




      6               Q.          And    when         they       do    the       administrative                   review       and


      7   provide            it    to    Denver         Health,             does       Denver       Health             use    that


      8   to    inform            their       review         of       the       inmate ’ s     death ?


      9                       MR .      DERWINSKI :               Ob j ect ion .          Form .             Go    ahead .


     10                       THE       WITNESS :            We       could       utilize          it    if       there       was




     11           de f iciencies .                    For    example,             like,      i f    roundings


     12           was n ’ t        done       or ,     you       know ,         completely .             I    don't          know


     13           that        we       would      utilize             it    to    determine             the       outcome          o f


     14           a     death .         They      are       two       separate          entities.


     15   BY    MS .        ANDERSON :



     16               Q.          Did    Denver         Health             ultimately          conclude                that


     17   none        o f    its       medical               none          of    the   medical           staff          did


     18   anything            wrong          with      respect             to    Mr.    Taylor?


     19               A .         Correct .



     20               Q.          And    in    making            that       determination,                   did       they


     21   consider            that       Mr.      Taylor          presented            with        blue       hands          and


     22    feet       hours        before         he    died?


     23                       MR .      DERWINSKI :               Ob j ect ion .          Foundation .                   Form .



     24           Go        ahead .


     25                       THE       WITNESS :            I    can't          speak    to       exactly             what




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      1            Q.          Before          the    review          was        presented,            they          were


      2   interviewed?


      3            A .         Yes .



      4            Q.          Okay .          And    the       defendants               testified             that        they


      5   had    only         been      interviewed              once,           and     I    presume          that        that


      6   was    through             this      review          process;            does       that     sound          right?


      7                       MR .    DERWINSKI :               Ob j ect ion .               Foundation .


      8                       THE     WITNESS :            I          I     don’t        know       what       they


      9          testified              to .


     10   BY    MS .     ANDERSON :



     11            Q.          Okay.           If    telephone              recordings              would       enable


     12   the    people            doing       the    quality              assurance           review          to     learn


     13   more     about           what     Mr .     Taylor          complained               about       and        when    he


     14   complained               about       it,    with       respect            to       the    care       o r    lack       of


     15   care     he     received                   he    was       receiving               from     Denver          Health


     16    staff,        would        the      people          who    did        the     review       want           to



     17   listen         to    those        recordings?


     18                       MR .    DERWINSKI :               Ob j ect ion .               Form .



     19                       THE     WITNESS :            Yeah .           I    can ’ t      as sume      what           they


     20          would         or     wou 1 dn ’ t        want       t o    listen           to,    but    I    do        know



     21          that         we     don ’ t    have       access           to     those       recordings.


     22   BY    MS .     ANDERSON :



     23            Q.          Well ,       you      were       part        of     the       review       team?


     24            A .         Uh-huh .



     25            Q.          Would




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      1           A .            Correct .



      2           Q.             Okay.         What       about       taking            an       inmate       out       o f   the


      3   holding           cells        by    the    deputy’s              desk        on       the    third       floor?


      4   Could        a    Denver        Health          person           go    in     there          and    take       them


      5   out    and        move        them    s omewhe r e ?


      6           A .            No .     They ' re        secured              and     locked.


      7           Q.             Okay.         If    you ’ re        on     the       Denver           Health       medical


      8    staff ,         can    you     call       911       from        the     jail?


      9           A .            Could        we?     We       could,           but     that ’ s        not    our




     10   practice              because        the    sheri f f s           make        the       calls       to    911


     11   because           they        have    to    prepare              the     facility             for    entrance.


     12           Q.             What     do    you       mean,       prepare            the       facility             for


     13   entrance ?



     14           A .            Well ,       they    have       to        know       throughout              the       jail


     15   that    somebody                     that       an    ambulance               is       coming       in    and


     16   there ' s         a    certain        sally          port        they       have        to    come       in    that


     17   would        have       to     be    open .          You    need         to    have          doors       open .      You



     18   need    to        have        elevators          up,       s o    for              I    mean ,      if    I    called


     19    911   and        somebody           showed          up,    how        would           they    even       get       in


     20   the    jail?            They        couldn ’ t .           That        has     to       be    coordinated


     21   through           the     Sheriff’s             Department .



     22           Q.             Okay.         So    if    an    ambulance               shows          up    at    the


     23   jail,        they       can’t        just       pull       up     to     the       front       door       and       run




     24   in;    i s       that     fair       to    say?


     25           A .            That ' s      correct .




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